
25 Cal.App.2d 750 (1938)
In the Matter of the Application of WILLIAM ALBRECHT for a Writ of Habeas Corpus.
Crim. No. 1611. 
California Court of Appeals. Third Appellate District.  
February 14, 1938.
 Walter B. Thompson for Appellant.
 U.S. Webb, Attorney-General, Gordon S. Hughes, Deputy Attorney-General and Hugh B. Bradford, City Attorney, for Respondent.
 Memorandum
 Thompson, J.
 This is a petition for a writ of habeas corpus. The petitioner is deprived of his liberty under a warrant issued from the police court of the city of Sacramento, based on a charge of violating the provisions of an ordinance of that city, number 166, fourth series, which requires all persons desiring to canvass for subscriptions of newspapers, magazines, periodicals and books in Sacramento, to first procure from the chief of police a written permit to do so.
 [1] The issues which are presented on this proceeding are precisely the same as those which were involved in a similar proceeding, entitled In the Matter of the Application of Lynn Hartmann for a Writ of Habeas Corpus, the opinion in which we have this day filed (ante, p. 55 [76 PaCal.2d 709]). That opinion is determinative of all the issues of this case.
 On the authority of that case the writ of habeas corpus is denied, and the petitioner remanded to the chief of police of the city of Sacramento.
 Pullen, P. J., and Plummer, J., concurred.
